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y) Circuit Court of the United States.
Of the Eastern District of Pennsylvania District Court

 

 

 

PLAINTIFF:
Albert Upshur, esq.
Executor/Fiduciary
The Original CREDITOR.
vs.
DEFENDANT(s):
COURT OF COMMON PLEAS OF
DAUPHIN COUNTY, GOVERNOR and
former ATTORNEY GENERAL TOM
CORBETT and JUDGE JOSEPH H.
KLEINFELTER and LAVON A. POSTELLE )
and ROBERT J. MONTAGUE and JUDGE )
ANDREW H. DOWLING and CO- )
COUNSEL-SAVATORE CUCINOTTA and )
COUNSEL JAMES ANTHONY )
LEMMENDOLA and JAMES C. )
COSTOPOULOS and JUDGE LAWRENCE )
F. CLARK JR. and JUDGE BRUCE F. _ )
BRATTON and JUDGE JOHN F. CHERRY )
and SHERIFF GARY A. BRANCH and _)
PUBLIC DEFENDER PAUL WATSON _ )
MULLER and WILLIAM E. CONWAY and )
RICHARD A. LEWIS and MARK A. )
GASPICH and AGENT JESSE FREER as the )
ORIGINAL and PRINCIPAL DEBTOR, _ )
Federal Reserve System )
AND )
UNITED STATES corporation )

New Ne Ne Ne ee Ne eee ee”

 

12 3208

Case No.:

 

Per the Laws of the Land of America

INITIAL FILING
under
Right of Action
Right of Discussion
Right of Relief

 

INITIAL FILING ACTION - Page 1 of 2. Albert Upshur,esq.

 
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Case 2:12-cv-03208-SD Document1 Filed 06/06/12 Page 2 of 35

Per the Laws of the Land of America and under the following:

The Plaintiff now brings forth the following Rights to be Settled per the Law. As several
different corporate personal both commercial and governmental have been acting as QUASI

TRUSTEES. (A person who reaps a benefit from a breach of trust, and so becomes answerable as a
trustee. Lewin, Trusts, (4th Ed.) 592, 638.)

RIGHT OF ACTION. The right to bring suit; a legal right to maintain an action, growing out of
a given transaction or state of facts and based thereon.

RIGHT OF DISCUSSION: The right which the cautioner (surety) the Soul as the vested
individual over our individual American and State combined Fide Commissary account] has to
insist that the creditor /the Artificial Person, Albert Upshur, esq. shall do his best to compel the
performance of the contract by the principal debtor COURT OF COMMON PLEAS OF
DAUPHIN COUNTY; Federal Reserve System and the UNITED STATES corporation., before
he shall be called upon.

The Defendants have failed to supply the Plaintiff with the Required IRS forms in order to
properly address and settle any Tax related issues that the IRS is accusing the Plaintiff of.

THEREBY THE COURT IS ORDERED TO HAVE THE FOLLOWING
PERFORMED under the following:

RIGHT OF RELIEF. The right of a cautioner (surety) /the Soul as the vested individual over
our individual American and State combined Fide Commissary account] to demand
reimbursement from the [principal debtor COURT OF COMMON PLEAS OF DAUPHIN
COUNTY; Federal Reserve System and the UNITED STATE corporation as they are to be the
real Tax Payer.] when he has been compelled to pay the debt.

1. The Required Forms are the IRS 1099-B and 1099-C and they are to be submitted to
the IRS along with the required Taxes and the Plaintiff is to be given his copy so he
can complete his Tax filings to get his Returns.

2. IF the initial Wagering Contract is over the three (3) settlement period than all Liens
are to be removed and the Full Paid Contract and/or Title are to be returned to the
Plaintiff under the RIGHT OF POSSESSION and the RIGHT OF PROPERTY.

3. The Defendants are also to make the Following compensation to the Plaintiff, based
upon their false claims which originated from their own neglected actions.
¢ All Court Cost that have been required of the Plaintiff.
e Compensation for any and all harm (lost time, libel and slander) caused to the
Plaintiff up to the full amount of their corporate Protection Bond.
e IF any physical harm was caused, then that is additional compensation that has to
be addressed by attached LEGAL NOTICE and DEMAND.

INITIAL FILING ACTION - Page 2 of 2. Albert Upshur,esq.

 
Case 2:12-cv-03208-SD Dggunsitd railed QS/06/12 Page 3 of 35

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: LENDER'S name, street address, city, state, ZIP code, and telephone no. OMB No. 1545-0877
pee : » age
| ALBERT OPsHUuR Acquisition or
VHB TM ITAWwATEE atezeT 2042 | Abandonment of
cn . Secured Property
at f
PUILADEL PHY A, PAIGIOG Form 1099-A
' : 1 Date of lender's acquisition or | 2 Batance of principal . Copy B
LENDER'S federal identification number | BORROWER'S identification number knowledge of abandonment outstanding For Borrower
< es on a + 2 f py - =< ¢ . tee
(DB 252494 le 27 OSGID TY | OB-z7-z9'2 |g informe cmportant tax
BORROWER'S name SEPAPT MEAL OF SISTICe 3 4 Fair market value of property furnished to the internal
Ghee caunT y & QvueT House R :

. soe : D, evenue Service. If you
Guar” oF Cow many PLE as, , are required to file a
DAQERIM @ ou At. $ - return, a negligence

Street address (including apt. no.) 5 If checked, the borrower was personally liable for 0 penalty or other
es a repayment ofthedebt . . . . . > sanction may b

OK<ET <sTeéecé y be

io \ PAAD € 4 STREET —_. imposed on you if

City, state, and ZIP code 6 Description of property taxable income results

HAL CBC & OA 1 Piel Cc PELZGR odo e49GZ-f808 from this transaction

~ a and the IRS determines

Account number (see instructions) that it has not been

CPZRCR V0 24/03 ~ 2648 reported.

Form 1099-A (keep for your records) Department of the Treasury - Internal Revenue Service

[_] CORRECTED (if checked)

 

 

 

 

 

 

 

 

 

 

CREDITOR'S name, street address, city, state, ZIP code, and telephone no. | 1 Date of identifiable event OMB No. 1545-1424

= ” ~ (3S PFD pA
3 ALBERT UPSHUG ne ieee

“4 _— mae ne 2 Amount of debt discharged Cancellation
| \YW2ZAPITEZ WATER STeEE™ $ 2012 of Debt
P B ii A iw ch. Prby A PA- | 5 of ba 3 Interest if included in box 2 :
7 $ Form 1099-C

eo federal identification number =| DEBTOR'S ‘Gentification 1 number 4 Debt description 5 Copy B

: 7 -. a, - 7 = a yp > Of 2d \
| 2529 A4 6172-0569 823Y | COxLE Rees LELE- F608 For Debtor
DEBTOR'S name [¢_ 2e. oT AA € Pep Ge Vs Tice This is important tax
: OA PHIM Count T Coho Big e information and is being
! Lourem oF Commndn Gt a furnished to the Internal
i . Revenue Service. If you
DAU PHN Go NT ¥ S : are required to file a
Street address (including apt. no.) oe " 5 If checked, the debtor was personally liable for O return, a negligence
: fom OV ete repayment of the debt Boe ee » penaity or other
4) } MA K KET Sve sanction may be
: City, state, and ZIP code A t unposed on you if
oP. fA co “Tr 4 axable income results
: 4 AE Kis Go £ G Z Pp \ | Oo | from this transaction
: Account number (see instructions) 6 Identifiable event code 7 Fair market value of property | 2nd the IRS determines
; hep mw oe Qj that it has not been
} €P22¢ RGOCOL MHS - LOO $ reported.

 

 

 

 

 

Form 1099-G (keep for your records) Department of the Treasury - Internal Revenue Service
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Case 2:12-cv-03208-SD Document1 Filed 06/06/12 Page 4 of 35

 

 

56 — —
thee December 2007) Notice Concerning Fiduciary Relationship OMB No. 1845-0013
Dronal Rewonue Sonace” (Internal Revenue Code sections 6036 and 6903)
identification
Name of person for whom you are acting (as shown on the tax return) identifying number Decedent's social security no.
ALBERT UPSHUR (the Quasi US-SS citizen} XXX-XX-XXXX i :

 

 

 

Address of person for whom you are acting (number, street, and room or suite no.)
1423 FITZWATER STREET

City or town, state, and ZIP code {It a foreign address, see instructions.)
PHILA, PA 19146

Fiduciary’s name
Albert W. Upshur, esa.

Address of fiduciary (number, street, and room or suite no.)

 

cio 6005 Media Street
City or town, state, and ZIP code Telephone number (optional)
Philadelphia, Pennsylvania 19751 (287 ) 601-5852

 

 

iagie Authority

1 Authority for fiduciary relationship. Check applicable box:
a(1) C] wit and codiciis or court order appointing fiduciary . 2. . . . . . . . (2) Dateofdeath _....22..22.222222222.22-
b(t) [) Court order appointing fiduciary 2 2 2... 2. we ee es) «Date (see instructions)
c 1 Valid trust instrument and amendments 07-26-1977 "Assignment Date"
ad [ Other. Describe | Fiduciary, also known as Executor of the "ALBERT UPS

>» ‘
under the above co umber aver the hibert” upenuk Federar ‘arid ‘state F.

 

 

  

izlagiie Nature of Liability and Tax Notices

 

 

ah WN

If the fiduciary tisted in Part | is the person to whom notices and other written communications should be sent for all items
described on lines 2, 3, and 4, checkhere . 2 2... - ee 2... & OO

if the fiduciary listed in Part | is the person to whom notices and other written communications should be sent for some (but not all}

of the items described on lines 2, 3, and 4, check here ® [C] and list the applicable federal tax form number and the year(s) or
period(s) applicable

om

 

zasiag Revocation or Termination of Notice

 

Section A—Total Revocation or Termination

7 Check this box if you are revoking or terminating all prior notices concerning fiduciary relationships on file with the Intemal
Revenue Service for the same tax matters and years or periods covered by this notice concerning fiduciary relationship . >» Oo
Reason for termination of fiduciary relationship. Check applicable box:

( Court order revoking fiduciary authority

C Certificate of dissolution or termination of a business entity
c () Other. Describe >

cro

Section B—Partial Revocation

8a Check this box if you are revoking earlier notices concerning fiduciary relationships on file with the Internal Revenue Service for
the same tax matters and years or periods covered by this notice concerning fiduciary relationship 2. 2. 2. 2. 2. 2 1 O
b Specify to whom granted, date, and address, including ZIP code.

 

Section C-——-Substitute Fiduciary

9 Gheck this box if a new fiduciary or fiduciaries have been or will be substituted for the revoking or terminating fiduciary and
specify the name(s) and address(es), including ZIP code(s), of the new fiduciaryies). 2 2 2 2. 2. 1 ew ee ¥)
p> Chief Justice J. Curtis Joyner

601 MARKET STREET, Philadelphia, Pennsylvania 49106
For Paperwork Reduction Act and Privacy Act Notice, see back page. Cat. No. 163751 Form 56 ev. 12-2007)
oe ae ee

LEGAL. NOTICE AND DEMAND — AFTACHMENT “B”_, DEFINITIONS

all

International Registered Private Tracking Number — 222250714655
MASEEMECSTOM UCC File Number - 2599-0917-57°5-9

I, Alvida Gonzales, a Notary Public, do certify that on 4-5-1],

I carefully compared the attached copy of AFFIDAVIT OF

PUBLIC NOTICES with the original. It is a complete and true

Copy of the original document.

COMMONWEALTH OE-PENNSYLVANIA

 

 

 

 

om Sk NOTARIALSEAL . --.

aD VIR ALVIDA GONZALES Notary Public. -
+ \ ATTENTION! AND WARNING! My Correncetonia, Fila. County

THIS IS A LEGAL NOTICE AND DEMAND renee

 

 

FIAT JUSTITIA, RUAT COELUMFIAT JUSTITIA, RUAT COELUM
(Let right be done, though the heavens should fall)

NON WAR POWERS To: All State, Federal and International Public Officials, by and through
ACT FLAG WASHINGTCN SECRETARY OF STATE SAM REED
TAKE NOTICE IGNORANCE OF THE LAW IS NO EXCUSE!
THIS IS A CONTRACT IN ADMIRALTY JURISDICTION
Take a moment to read this before you proceed any further!
| do not wish to speak to you under any circumstances excluding federal judicial review!

'

THIS TITLE IS FOR YOUR PROTECTION!

a (1) 1, One Aibert-ilfiain: Goshur, [Freeman] the undersigned herein requests anything you say to me you present
in writing signed under penalty of perjury required by your law as shown in this instrument. Notice to Agent is

Notice to Principal. Notice to Principal is notice to Agent. Attachments are included and are part of this

i contract.

(2) This notice is in nature of a Miranda Warning. Take due heed of contents. If, for any reason, you do not

i understand any of these statements or warnings, it is incumbent upon you to summon a superior officer, special
prosecutor or federal judge, or other competent legal counsel. to immediately explain to you the significance of this

presentment as per your duties and obligations in respect to this private formal notarized “registered” Statute Staple
Securities Instrument. As per Title 11 USC 501(a), 502(a), 11 USC 7001, 7013, and Federal Rules of Civil

a Procedure Sections 8-A, and 13-A the presumptions that | “toen-Aubam ‘Joshur am a debtor to the “UNITED
STATES’ or any of its agencies, or sub-corporations is forever rebutted, by this contract.

i Alyidh GoNzbher Lh Yoo.

NOTARY PUBLIC-PRINT NAME NOTARY-PUBLIC SIGNATURE

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Lmeesses =m al

 
Case 2:12-cv-03208-SD.__Document1_ Filed 0

LEGAL NOTICE AND DEMAND - ATTACHMENT “B”, DEFINITIONS

 

 

 

STATES" or any of its agencies, or sub-corporations is forever rebutted, by this contract.

 

 

 

 

 

 

 

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Case 2:12-cv-03208-SD Document1 Filed 06/06/12 Page 7 of 35

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i Aue 0} pay) you yng osje ‘SIVLS JO AYVLSYOAS NOLONIHSVAA Aunyoadsas Qu WS Jo eouadsainboe

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i Me] JO/PUe ‘NOD ay} JO SYaOdWO “at ‘samed aiqisuodsas |je pue Aue O} SIL] BINQUISIP O} paBGseyo si puooel oyqnd au)

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CNVWAG GNV SOLLON 1V9371 OML ADVd

SNOLLINIAA “.€. LNAWHOV.LLV — GNVW4d GNV SOLLON ‘TVOOT

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if
| STATE, also but not limited to any public officer(s), agent(s), contractor(s), assign(s), employee(s), and
i subsidiaries of your office, regarding the undersigned's “NOTICE and DEMAND" tendered by registered mail with

LEGAL NOTICE AND DEMAND - ATTACHMENT “B”, DEFINITIONS

Liber book number and page affixed. (See front page.)

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LEGAL NOTICE AND DEMAND - ATTACHMENT “B”, DEFINITIONS

PAGE THREE LEGAL NOTICE AND DEMAND
(6) Which silence of Corporate Office “SECRETARY OF STATE?’ ratifies severance(s) of any nexus or relationship
to de facto corporate commercial state office(s); being fraudulent conveyance by operating under “color of
authority” upon affiant. Let this be known by undersigned’s “Good Faith (Oxford) Doctrine” to all men and women. |

 

do not consent to any warrantless search(s), or searches that are not compliant with the “Constitution for the united
States of America” and/or all of the Amendments of the Honorable “Bill of Rights” whether of my dwelling(s),

 

car(s), landcraft, watercraft, aircraft, me, mine, current location, property,
hotel room(s), apartment(s), business records, business, or my machinery, vehicles, equipment, supplies,
buildings, grounds, land in my private possession or control, past, present, and future, now and forevermore, so

 

help you God.

(7) By this record let it be known that | do not at any time waive any rights or protections, as acknowledged by the
aforementioned Constitution and/or Honorable Bill of Rights, nonetheless, demanding that you protect these as you
swore an oath to do so. | accept your lawfully required “Oath of Office,” Bond(s) of any type, insurance policies,

i and property of any type for my protection and making whole. Furthermore, should you witness any (public)
officer(s) at this time, or any time past, present, or future violate any of my rights or protections, it is your swom
duty (of oath) to immediately arrest, or have them arrested. You are legally required to charge them as you should

i any law breaker, regardless of (superior) officer(s) title, rank, uniform, cloak, badge, position, stature, or office.
Hence, or you shall be accountable for monetary gain from, but not limited to, your monetary liability, your
corporate bond, compensatory costs, punitive procurements, and sanctioned by attomey attributions.

i (8) NOTE: A true and correct notarized copy of this Statute Staple Securities Instrument is safely deposited in
“Register of Deeds” Office in PHILADELPHIA COUNTY, COMMONWEALTH OF PENNSYLVANIA, and with
several trusted friends accompanying sworm affidavits certifying my policy of presenting this security instrument to

i each and every (public) officer who approaches the undersigned violating my unalienable rights including, but not

limited to, my right of liberty and free movement upon any common pathway of travel. | have a lawful right to

| travel, by whatever means, via land, sea or air, without any officer, agent, employee, attomey, or judge that in any
manner willfully causes adverse affects or damages upon the undersigned by an arrest, detainment, restraint, or
|

|

 

 

 

 

deprivation. | will be granted the status and treatment of a foreign Sovereign, a foreign diplomat, by ail customs
officials. This document or the deposited copy becomes an evidentiary document certified herein, as if now fully
reproduced, should any court action be taken upon the undersigned as caused by your act(s) under color of law

 

with you, your officers, and employees. Take note, you are now monetarily liable in your personal corporate
capacity. \lbert -YVilliain: Upsanr [Freeman], a sovereign, notwithstanding anything contrary, abides by all laws in |

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— _Case 2:12-cv-03208-SD Document 1 a a _

LEGAL NOTICE AND DEMAND — ATTACHMENT “B", DEFINITIONS |

accord with the aforementioned “Bill of Rights” and applicable to Sovereigns, and wishes no harm to any man. ;
You agree by your non-response to uphold my “Right to Travel”; or you must rebut my presumption by lawfully
documented evidence in law On and For the Record, Under Oath and penalty of Perjury, within the Thirty (30) i
Mays, aS aforementioned in this Admiralty Contract. Definitions as they apply to this contract are enclosed in |

ATTACHMENT “B’, and are included as a legal part of this contract.

 

 

 

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LEGAL NOTICE AND DEMAND — ATTACHMENT “B”, DEFINITIONS

PAGE FOUR LEGAL NOTICE AND DEMAND

(9) BE WARNED, NOTICED, AND ADVISED that !| rely upon, in addition to constitutional limits of the “Constitution
for the United States of America” and/or the Honorable “Bill of Rights,” governmental authority, the rights and
protections guaranteed under Uniform Commercial Code(s), common equity law, laws of admiralty, and commercial
liens and levies pursuant, but not limited to, Title 42 (Civil Rights)
Title 18 U.S.C.A. (Criminal Codes), Title 28 U.S.C.A. (Civil Codes) and additional COMMONWEALTH OF
PENNSYLVANIA constitution penal codes, in as much as they are in compliance with aforementioned Constitution
and/or Bill of Rights.

There can be no violation of any of these laws unless there is a victim consisting of a natural flesh and blood man or
woman who has been damaged. When there is no victim, there is no crime or law broken. Unless this is rebutted
within the time limit contained herein, and the conditions of the rebuttal are met, you, or any representative in any
capacity of any agency, government, corporation, or the like, agree to abide by this contract anytime you interact
with me. The undersigned addresses the foregoing being of lawful majority age, clear head, and sound mind
henceforth.

(10) Remember, you took a solemn binding oath to protect and defend the original Constitution for the United
States of America (1776) adopted circa (1787). Violation(s) of said oath is perjury being a bad-faith doctrine by
constructive treason and immoral dishonor infra 113, 114 & 15. | accept said Oath of Office that you have swom
to uphold. | declare that any and all presumptions that | am citizen, subject, resident, participant, legal entity,
strawman, fiction, or any such thing, of any and all jurisdictions of the UNITED STATES OR ANY OF ITS
SUBDIVISIONS, AGENCIES, ENTITIES, DEPARTMENTS, SUBSIDIARIES are now and forever rebutted. You
may rebut my presumptions by submitting certified copies of lawful documents that have been certified by
COMMONWEALTH OF PENNSYLVANIA states attorney while under oath and on the official record and under
penalty of perjury and waiving all immunities from prosecution. You have Thirty (30) days to rebut my statements,
as indicated herein, or my statements will stand as true, lawful, and legal in all of your courts, and/or hearings.

(11) This legal and timely notice, declaration, and demand is prima facie evidence of sufficient Notice of Grace.
The terms and conditions of this presentment agreement are a quasi-contract under the Uniform Commercial Code
and Fair Debt Collections Act as contained herein. They are not limited to the waiver on your part of any and all
immunities that you may claim, should you in any way violate the undersigned or allow violation(s) by others. Your

corporate commercial act(s) against me or mine and your failures to act on behalf of me or mine are ultra vires and

injurious by willful and gross negligence.

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| LEGAL NOTICE AND DEMAND - ATTACHMENT ~B”, DEFINITIONS

 

injurious by willful and gross negligence.

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(12) The liability is upon you, and/or your respondent superior, and upon others including any and all local, state,
regional, federal, multijurisdictional, international, and/or corporate agencies, and/or persons of the foregoing,
involved directly or indirectly with you via any nexus acting with you; and said liability shall be satisfied jointly
and/or severally at my discretion. You are sworn to your Oath of Office, and | accept your Oath of Office and your

responsibility to uphold the rights of me and mine at all times.

 

 

 

 

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LEGAL NOTICE AND DEMAND ~ ATTACHMENT “B”, DEFINITIONS

PAGE FIVE LEGAL NOTICE AND DEMAND

  

BILLING COSTS ASSESSED WITH LEVIES AND LIENS UPON VIOLATIONS SHALL BE:

(13) Untawful Arrest, iNegai Arrest, or Restraint, or Distraint, Trespassing/Trespass, without a lawful correct,
and complete 4TH amendment warrant: $2,000,000.00 (Two Million) US Dollars, per occurrence, per officer, or
agent involved.

Excessive Bail, Fraudulent Bond, Cruel and Unusual Punishment, Violation of Right to Speedy Trial,
Freedom of Speech, Conspiracy, Aid and Abetting, Racketeering, and or Abuse of Authority as per Title 18
U.S.C.A.,' 241 and ' 242, or definitions contained herein, encroachment: $2,000,000.00 (Two Million) US Dollars,
per occurrence, per officer, or agent involved.

Assault or Assault and Battery without Weapon: $2,000,000.00 (Two Million) US Dollars, per occurrence, per
officer, or agent involved.

Assault and Battery with Weapon: $3,000,000.00 (Three Million) US Dollars, per occurrence, per officer, or

|
|

agent involved.
Unfounded Accusations by officer of the court: $2,000,000.00 (Two Million) US Dollars, per occurrence, per

officer or agent involved.

(14) Denial and or Abuse of Due Process: $2,000,000.00 (Two Million) US Dollars, per occurrence, per officer,
or agent involved.

Obstruction of Justice: $2,000,000.00 (Two Million) US Dollars, per occurrence, per officer or agent involved.
Unlawful Distraint, Interstate Detainer, or False imprisonment: $5,000,000.00 (Five Million) US Dollars, per
day, per occurrence, per officer, or agent involved, plus 18% annual interest.

Reckless Endangemment, Failure to Identify and/or present credentials and/or Failure to Charge within 48
(Forty-Eight) Hours after being detained: $2,000,000.00 (Two Million) US Dollars per occurrence, per officer, or
agent involved.

Counterfeiting Statute Staple Security Instruments: $2,000,000.00 (Two Million) US Dollars per occurrence,

per officer, or agent involved.

 

 
 

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LEGAL NOTICE AND DEMAND - ATTACHMENT “B”, DEFINITIONS

PAGE SIX LEGAL NOTICE AND DEMAND

(15) Unlawful Detention, or Incarceration: $2,000,000.00 (Two Million) US Dollars per day, per occurrence, per
officer, or agent involved.

Incarceration for Civil or Criminal Contempt of court without lawful, documented in law, and valid reason:
$2,000,000.00 (Two Million) Us Dollars per day, per occurrence, per officer, or agent involved.

Disrespect by a Judge or Officer of the Court: $2,000,000.00 (Two Million) US Dollars per occurrence, per
officer, or agent involved.

Threat, Coercion, Deception, or Attempted Deception by any officer of the court: $2,000,000.00 (Two
Million) US Dollars per occurrence, per officer, or agent involved.

Unnecessary Restraint: $2,000,000.00 (T wo Million) US Dollars, per occurrence, per officer, or agent invoived.
Refusal of Lawful Bailment as Provided by The aforementioned Constitution and/or Honorable “Bill of Rights’:
$2,000,000.00 (Two Million) US Dollars per day of confinement, to be prorated by the hour as per Trafficant vs.
Florida, per occurrence, per officer, per agent involved.

Coercing or Attempted Coercing the Real Natural man to take responsibility for the Corporate Strawman against
the Natural Man and Secured Party's Will: $2,000,000.00 Two Million US Dollars per occurrence, per officer or
agent involved. The Placing of an Unlawful or Improper Lien Levy, Impoundments, or Garnishment against
any funds, bank accounts, savings, accounts, retirement funds, investment funds, social security funds, intellectual
property, or any other property belonging to the Natural Man or Woman Secured Party by any agency as
aforementioned herein: $2,000,000.00 (Two Million) US Dollars per occurrence, and $100,000.00 (One Hundred
Thousand) US Dollars per day penalty until lien(s), levy(s), impoundment(s), and/or garnishment(s) are ended and
all funds reimbursed, and all property retumed in the same condition as it was when taken, with 18 % annual
interest and my declared value of property.

Destruction, deprivation, concealment, defacing, alteration, or theft, of property, including buildings,
structures, equipment, furniture, fixtures, and supplies belonging to the Natural Man and Secured Party will incur a
penalty of total new replacement costs of property , as indicated by owner and secured party, including but not
limited to purchase price and labor costs for locating, purchasing, packaging, shipping, handling, transportation,
delivery, set up, assembly, instailation, tips and fees, permits, replacement of computer information and data,
computer hardware and software, computer supplies, office equipment and supplies, or any other legitimate fees
and costs associated with total replacement of new items of the same type, like, kind, and/or quality, and quantity
as affected items. The list and description of affected property will be provided by the owner, and secured party

 

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LEGAL NOTICE AND DEMAND - ATTACHMENT “B”, DEFINITIONS

and will be accepted as complete, accurate, and uncontestable by the agency, or representative thereof that
caused such action. In addition to the aforementioned cost, there will be a $200,000.00 (Two Hundred Thousand)
US Dollars per day penalty until property is restored in full, beginning on the first day after the incident, as provided

by this contract.

 

 

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LEGAL NOTICE AND DEMAND ~— ATTACHMENT “B”, DEFINITIONS

PAGE SEVEN LEGAL NOTICE AND DEMAND

CAVEAT

(16) The aforementioned charges are billing costs deriving from, but not limited to, Uniform Commercial Code(s)
and Fair Debt Collection Act and this contract. They shall be assessed against persons, government bodies, and
corporate entities supra, or any combination(s) therein by collectively and individually ignoring my natural and/or civil
rights as American by declaration. The aforementioned Honorable “Bill of Rights” and/or Constitution establishes
jurisdiction for you in your normal course of business. All violations against me, the undersigned, will be assessed
per occurrence, per officer, representative or agent, of arly agency that is involved in any unlawful action against me,
each individually.

(17) By your actions, you shall lack recourse for all claims of immunity in any forum. Your officers’ knowing consent
and admission of perpetrating known act(s) by your continued enterprise is a violation of my rights. This Statute
Staple Securities Instrument protects my Article Il! court remedies including but not limited to Title 42 U.S.C.A,
Title 18 U.S.C.A, and Title 28 U.S.C.A, exhausting all state maritime article | administrative jurisdiction(s), and Title
18 U.S.C.§ 242.

IGNORANCE OF THE LAW IS NO EXCUSE!

(18) 1, one Albert-William: Upshur, [Freeman], am the principal, and you are the agent! Fail not to adhere to your
oath, lest you be called to answer before one God and one Supreme Court Exclusive Original Jurisdiction, which is
the court of first and last resort, not excluding my “Good Faith Oxford indoctrination” by my conclusive honorable
“Bill of Rights.”

(19) This Statute Staple Securities Instrument is not set forth to threaten, delay, hinder, harass, or obstruct, but to
protect guaranteed Rights and Protections assuring that at no time my Unalienable Rights are ever waived or taken
from the undersigned against my will by threats, duress, coercion, fraud, or without my express written consent of
waiver. None of the statements contained herein intend to threaten or cause any type of physical or other harm to
anyone. The statements contained herein are to notice any persons, whether real or corporate, of their potential,
personal, civil and criminal liability if and when they violate my Unalienable Rights as protected by the original
constitution of (1776) adopted circa (1791) and/or “Bill of Rights.” A bona fide duplicate of this paperwork is safely
archived with those who testify under oath that it is my standard policy to ALWAYS present this NOTICE to any
public or private officer attempting to violate me and my rights. It is noted on the record that by implication of said
presentment, this NOTICE has been tendered by way of registered mail to STATE OF WASHINGTON

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LEGAL NOTICE AND DEMAND ~ ATTACHMENT “B”, DEFINITIONS |

SECRETARY OF STATE SAM REED. This is prima facie evidence of your receipt and acceptance of this
presentment in both your personal and individual capacity jointly and severally for each and all governmental political
corporate bodies. Any other individuals who have been, are now being, or hereinafter, are involved in the instant
action(s) or any future action(s) against me shall only correspond while signing under penaity of perjury pursuant but
not limited to Title 28 U.S.C.A. §1746. This document is now on record in the Register of Deeds Office in
PHILADELPHIA COUNTY, COMMONWEALTH OF PENNSYLVANIA supra. .

 

 

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LEGAL NOTICE AND DEMAND - ATTACHMENT “B”, DEFINITIONS

 

 

PAGE EIGHT LEGAL NOTICE AND DEMAND

SUMMATION
SUMMATION

(20) Should you move against me in defiance of this presentment, there is no immunity from prosecution
available to you, or any of your fellow (public) officers, who participate in any action(s) or any officials of
government, judge, magistrate, district attomey, clerk or any other person who becomes involved in the instant
action(s) or any future action(s) by way of aiding and abetting. Take due heed and govem yourself accordingly.
Any or all documents tendered upon the undersigned party lacking bona-fide ink signatures or dates per title 18
U.S.C.A. § 513-514 are counterfeit security instrument(s) causing you to be liable in your corporate and individual
capacity(s) by fraudulent conveyance now and forevermore. If and when you cause any injury and/or damages to
the Natural Man or Woman Secured Party, by violating any of the rights, civil rights, privileges, or any terms
herein, you agree to willingly, with no reservation of rights and defenses, at the written request of the Natural Man
or Woman Secured Party, surrender, including, but not limited to, any and all bonds; public, and/or corporate
insurance policies; CAFRA funds as needed to satisfy any and all claims as filed against you by the Natural Man or
Woman Secured Party. This applies to any and ail agents, or representatives, severally and individually, of the
UNITED STATES or any of the Subdivisions thereof, as described herein.

NOTICE TO AGENT IS NOTICE TO PRINCIPAL AND
NOTICE TO PRINCIPAL IS NOTICE TO AGENT

(21) This document cannot be retracted by any employee, agent, representative, or officer of the court or any

individuals excluding the foregoing named title holder on this “Registered Document” for one hundred years from
date notarized on this legally binding Statute Staple Security Instrument as set forth by embossed gold seal.
Attention: All) Agents, Representatives, or Officers, or such as, of the UNITED STATES or its subdivisions
including local, state, federal, and/or international or multinational governments, corporations, agencies, and the
like: You have Thirty (30) days to rebut any portion or all of this document; or you stand in total agreement. Non
response is agreement. Partial response is agreement. Rebuttal must be in written form with legal/lawful, verified,
certified documentation in law, with copies of said law enclosed. Notice to Agent is Notice to Principal. Ignorance

of the law is no excuse.

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LEGAL NOTICE AND DEMAND ~— ATTACHMENT “B”, DEFINITIONS

PAGE NINE LEGAL NOTICE AND DEMAND

(22) Albeit all other corporations not limited to: telephone companies, cable companies, utility companies,
contractors, builders, maintenance personnel, investors, journeymen, inspectors, law enforcement officers, officers
of the court, manufacturers, wholesalers retailers, and all others, including all persons are bound by all paragraphs,
terms, and conditions herein regardless of nature of limited liability corporation(s) or affiliations as “DBA's,”
“AKA's,” incorporations, or any types of businesses in commerce as deeded by this securities agreement and
decree.

(23) YOU ARE FINALY NOTICED having been given knowledge of the law and your personal financial liability in
event of any violations of my rights and/or being. This Statute Staple Securities Instrument now in your hand
constitutes timely and sufficient warning by good faith notice and grace. Addendums shall follow.

(24) Dated this__26_day of January_, in the year of our Lord Two Thousand Nine

t. The aforementioned artifacts are presented under the Good Faith Oxford Doctrine being of Honor. | accept
the Oath of Office of all officers of the Court, including but not limited to the clerk of court, all judges and attomeys
from all jurisdictions, all law enforcement officers local, state, federal, international and all agents of the UNITED
STATES or any subdivisions thereof.

(25) Any agent, law enforcement officer, employee, contractor, representative, or the like of the “UNITED
STATES’ or any of its subsidiaries or sub-corporations, MAY NOT ENTER ANY PROPERTY AT WHICH | AM
LOCATED, LEASE, OWN, or CONTROL, AT ANY TIME, FOR ANY REASON, WITHOUT MY EXPRESS
WRITTEN PERMISSION. Violation of this Notice will be considered criminal trespass and will be subject to a
$2,000,000.00 (Two Million) lawful US Silver dollar penalty plus damages, per violation, per violator.

   

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LEGAL NOTICE AND DEMAND — ATTACHMENT “B”, DEFINITIONS

PAGE TEN LEGAL NOTICE AND DEMAND
(26) Finally, Any and all lending institutions, brokerage firms, credit unions, depository institutions and insurance
agencies, credit bureaus and their officers, agents, and employees therein now having been given knowledge of
the law as per your own personal financial liability in event of any violations upon Alberi-Willlam: Upsnur’s rights
and/or being, this Statute Staple Securities Instrument constitutes timely and sufficient warning by Good Faith
Notice of your liability regardless of your political affirmations. All penalties contained herein will be subject to a
penalty increase of one million dollars per day, plus interest, while there is any unpaid balance for the first (30)
days after Default of payment. This penalty will increase by 10% per each day until balance is paid in full, plus
18% annual interest, beginning on the thirty first (31%) day after Default of payment. All penalties in this document
are assessed in lawful money and are to be paid in one troy ounce US Silver Dollars that are .999 pure silver or
equivalent par value in legal tender or fiat paper money. Par value will be determined by the value established by
a one troy ounce .999 pure silver coin at the US MINT, or by law, whichever is highest value at the time of the
incident. Any dispute over the pay value will be decided by the Secured Party, or his designee. All definitions in
Attachment “B” are included as a part of this contract and will be applied as written herein. Any dispute of any
definition will be the decision of the Secured Party.
UCC-1 Financial Statement (and/or UCC-3 Addendum thereto) shall foliow with articles and attachments as set
forth thereon. There is no contradiction of terms as written within confines of this title pursuant to the “Constitution
for the United States of America.” If any contradiction is found, the meaning will be determined by the Secured

Party.

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Name: __Albert-William: Upshur. Secured Party _ Grantor a
Country: The united States of America 4
All property belonging to the Debtor belongs to the Secured Party as listed on enclosed ATTACHMENT “A.
1423 Fitzwater Street 1425 Fitzwater Sireet
Philadelphia, Pennsylvania; near [19146] Philadelphia, Pennsylvania; near [19146 ]
' Non Domestic without the US Non Domestic without the US
| 749 S 19 Street . 2142 McClellan Street
Philadelphia, Pennsylvnia_near [1 9146] Philadelphia, Pennsylvania_near [19145]
Non Domestic without the US Non Domestic without the US

 

 

 
 

 

  
  

LEGAL NOTICE AND DEMAND - ATTACHMENT “B”, DEFINITIONS

PAGE TWELVE LEGAL NOTICE AND DEMAND

NOTICE 7#iLATELZ MIA COUNTY REGISTER OF DEEDS CLERKS

(27) Pursuant to Title 18 U.S.C.A. § 2076 in applicable part: “Whoever, being a clerk (or supervisor) or employee
of “UNITED STATES” charged with the duty of receiving securities or holding in trust securities on behalf of any
person or makes a false report shall be fined $5,000 or imprisoned ten years or both.” As synonymous with
correlating COMMONWEALTH OF PENNSYLVANIA compiled laws; COMMONWEALTH OF PENNSYLVANIA
and federal civil procedure laws; CON'AONWEALTH OF PENNSYLVANIA rules of court; and all other
COMMONWEALTH OF PENNSYLVANIA codes and uniform commercial codes separate from Title 18 U.S.C.A. §
2076. Also Title 18 U.S.C.A. § 2071 (a) concealment by supervisors secretaries or clerk(s) verifies in part:
“Whoever willfully and unlawfully conceals or attempts to do so” from any individual “shall be fined or imprisoned
three years or both period.” Simply Stated: All “Register of Deed Clerks” are liable for non-compliance to the text
herein under due process and obstruction of justice as described herein. This agreement is valid at 12:00 noon on
the day that it is recorded, unless and until rebutted as indicated herein, within Thirty (20) calendar days. After
Thisty (30) calendar days you may not rebut this contract.

(28) SUBSCRIBED AND AFFIRMED: On this__26 day of_January. , 2009 AD before me
appeared Albert-VWilliam: Upshur, known to me or proved to me on the basis of satisfactory evidence to be the
man whose name is subscribed on this Statute Staple Securities Instrument. Witness my hand and official

stamp signed sealed delivered by hand, or by private registered/ certified mail now and forever more; drafted by

the above Secured Party Grantor with attached property description.

Mik, gle

Signature of Notary Public

LS

 

 

 

City of Philadelphia, Phila. County

Soe itness J

nnd, p No NOTARIAL SEAL

is: : 4 — (at 26 FE 4" Wy BAW ALVIDA GONZALES, Notary Public
‘8 |_My Commission Expires February 12, 2010

 

  

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LS: \o , 0 - Ws HILAR OC LQ >y COMMONWEALTH OF PENNSYLVANIA
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i Third Witness

LEGAL NOTICE AND DEMAND — ATTACHMENT “B”, DEFINITIONS

| Attachments: Attachment A, Notice of Ownership
i Attachment B, Definitions
Attachment C, WASHINGTON STATE UCC File Number 2009-091 -5736-6

LEGAL NOTICE AND DEMAND

ATTACHMENT “A”, NOTICE OF OWNERSHIP
a ALL PROPERTY BELONGING TO THE DEBTOR BELONGS TO THE

SECURED PARTY INCLUDING BUT NOT LIMITED TO THE FOLLOWING:

i Private Register of Deeds Liber Number: 51930286 2

Private Creditor Treasury Account: 182524846

i Private Depository Trust Account: 182524846 :

' + Private Invoice Number: AWU07261959

wm Private Address: c/o1423 Fitzwater Street, Philadelphia, Pennsylvania; near [19146], Non Domestic

i without the US i

Public Residence: 1423 FITZWATER STREET, PHILADELPHIA, PENNSYLVANIA 19146
i Public Debtor Treasury Account: XXX-XX-XXXX i
Public Birth Certificate File Number: 1409140-1959 and COMMONWEALTH OF PENNSYLVANIA
| /DEPARTMENT OF HEALTH

i Privately Owned Certificate of Live Birth Number: :
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Public Operators License Not a Vessel: Drivers L icense # 19177885 and COMMONWEALTH OF
i PENNSYLVANIA

Public Marriage License State Number: N/A This is optional information. If not applicable

Professional License: List by License Number / Type / COMMONWEAL TH OF PENNSYLVANIA; If

applicable
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| LEGAL NOTICE AND DEMAND ~ ATTACHMENT “B”, DEFINITIONS

ATTACHMENT “B,” DEFINITIONS

 

Unlawful Arrest: Means restricting a man or womans right to move about freely without the proper use of a lawful 4
amendment warrant signed by a judge of “Competent Jurisdiction” while under oath. This includes unnecessary
use of restraint devices, traffic stops, raids, or any other type of interaction, when an officer is presented with and
ignores a “Notice and Demand,” “Public Servants Questionnaire,” “Right to Travel” Documents, or other
documents notifying the officer of the sovereign lawful rights of the Natural Man or Woman Secured Party, created
by God, who is not to be confused with the Corporate Fiction “Strawman” which was created by the state. This
includes arrest when a Natural Man or Woman Secured Party is incarcerated for refusing to sign any citation, arrest
due to contempt of court when he or she is not violent or a physical threat to the court, arrest by Internal Revenue
Service for failure to produce books, records, or other documents, arrest and refusal of Habeas Corpus, arrest for
conspiracy of any kind without lawfully documented affidavits from at least three (3) eye witnesses, signed under
oath and penalty of perjury.

Nlegal Arrest: Means same as above item # 1, “Unlawful Arrest”.

Unlawful Detention: Means restraining a Natural Man or Woman Secured Party’s freedom of movement, and/or Right
to Travel, against his will for more than sixty (60) seconds without a properly authorized lawful 4" amendment
warrant signed by a judge of competent jurisdiction while under oath. This includes routine traffic stops, raids,
random identification checks, security checks, only after the officer, Agent, or Representative has been notified by
the Natural Man or Woman Secured Party of his status and after the officer has been given documents to prove
said status, along with up to ten (10) minutes for officer to examine said documents.

 

Unlawful Distraint: Means seizure or taking of any property that is lawfully owned or in possession of the Natural Man
or Woman Secured Party without proper probable cause, and/or due process, and lawful 4° amendment warrant.
This includes any seizure by any officer, agent, representative, in any capacity, or relationship with the “UNITED
STATES” or any of its agencies, contractors, subdivisions, subsidiaries, or the like.

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Lawful 4° Amendment Warrant: Means a warrant that follows the provisions of the fourth amendment to the original
“Constitution for the United States of America.” This warrant must not deter from the exact procedures as

 

outlined by the Fourth Amendment.

 

Right to Speedy Trial: Means trial will commence within 90 days of the date of arrest.

Interstate Detainer: Means the same as unlawful detainer as when involving a Natural Man or Woman Secured Party
and involving more than one agency or state of the corporation, or any representative, agent, or officer who has
any agreement with, contract with, or permission to act on behalf of any municipal corporation of the “UNITED |
STATES” or any subsidiary or sub-corporation thereof. . |:

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LEGAL NOTICE AND DEMAND - ATTACHMENT “B”, DEFINITIONS

 

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| Uniawful Restraint: Means any action by any officer, agent, representative, contractor, associate, officer of the court,
or the like, to prevent, coerce, intimidate, hinder, or in any way limit the right of a Natural Man or Woman Secured

; Party from any type of freedom of legal/ lawful speech, travel, movement, action, gesture, writing, utterance, or
enjoyment of any right or privilege that is commonly enjoyed by any member of the public, or any Sovereign.

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Freedom of Speech: Means the right to speak open and plainly without the fear of reprisal. This includes the right of a
Natural Man or Woman Secured Party to speak at hearings and trials, before magistrates, judges, officers of the
court, agents, representatives, or the like, of the UNITED STATES. It also means that no attempt to suppress this
right will be made by any officer of the court or of the “UNITED STATES” CORPORATION. No judge or officer of any
court or tribunal will threaten contempt of court for free speech by any Natural Man or Woman Secured Party.

 

 

US Dollars: Means the currently recognized medium of exchange as used by the general public at the time of offense,
at par value, equal to one ounce silver dollar equivalent per each dollar unit, as represented in a claim. All claims
and damages will be paid at par value as indicated. Par value will be established by written law or the value
established by the US MINT for the purchase of an official one troy ounce 99.999% Pure Silver Coin, whichever is
higher at the time of the offense.

Obstruction of Justice: Means any attempt by any officer of the court or representative of any agency that represents
the “UNITED STATES,” or any of its subdivisions, agencies, contractors, etc., to deprive, hinder, conceal, coerce,
threaten a Natural Man or Woman Secured Party in an attempt to prevent his any and every opportunity to
legally/lawfully defend him/herself by attempting to produce and file lawful documents, and or testimony, to
agents, officers, judges, magistrates, the court, clerk of court, representatives, investigators, In order to settle any
legal/lawful controversy. This also includes any attempt by a judge or officer of the court from hindering the
Natural Man or Woman Secured Party from filing, admitting, presenting, discussing, questioning, or using any
evidence, document, paper, photographs, audio and/or video recordings, or any other type of evidence that they
desire to submit as evidence in any type of court proceeding. The determination of what is evidence and what will
be admitted is to be solely determined by the Natural Man or Woman Secured Party. Any evidence will be tried on
merits of the lawful content and validity. Any judge, or officer of the court who attempts to suppress or dismiss
legal or lawful evidence will voluntarily surrender all bonds, insurance, property, corporate property, bank
accounts, savings accounts, or any corporate property of value to the Natural Man or Woman Secured Party upon
written demand and surrender all rights to and defenses against sald property. This also includes evidence that is 2
supported by case law. This includes attempts by any officer of the court from making motions, order such as Gag
Orders or any other means of keeping information suppressed from the public or the official record. The
determination of whether the acts of the court are an attempt to suppress evidence will be solely determined by
the Natural Man and Secured Party. This also includes the provision as indicated in item # 18 “Racketeering”.

 

 

 

 

Excessive Bail: Means any amount of bail set at an unreasonable rate as per the 8th amendment of the Constitution for
the United States of America. This also means bail in excess of the amount of the fine, penalty, or penal sum that is
associated with the alleged crime committed. This also means that if a Natural Man or Woman Secured Party has
lived in a community or has lived in one community or area for more than one year, provided that he has not

 
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LEGAL NOTICE AND DEMAND - ATTACHMENT “B”, DEFINITIONS

recently moved within a year, works a regular job, or is a member of or involved with a church group, civic group,
community enterprise, or can produce at least two affidavits from members of his community or area stating that
he is involved with his community, he cannot be held without bail as a flight risk, or a threat to society. If the
Natural Man or Woman Secured Party can produce at least four (4) affidavits stating that he lives, works, and is
involved in his community, or the prior community in which he lived, he must be released on his own recognizance
without any bail required. This provision does not apply to anyone charged with rape, murder, or violent crimes
against women, or children. ,

Cruel and Unusual Punishment: Means physical violence of any type or form that is used against a Natural Man or
Woman Secured Party that causes visible ohysical injury, i.e., marks, scrapes, scratches, bruises, abrasion, avulsions,
fractures, sprains, restraint marks, dislocations, punctures, cuts, loss of blood, loss of body fluids, or any other type
of physical stress to the body; or any chemically induced altered mental state of the Natural Man or Woman
Secured Party. This also includes any attempt to incarcerate, restrain, question, detain, withholding food when
requested, withholding drink when requested, withholding medications as requested, withhold use of bathroom
facilities and supplies when requested, withhold reading and writing materials, withholding communication with
friends, family, legal counsel, and religious counsel, withholding proper clothing as needed for comfort, withholding
blankets when requested, withholding hot and cold water for showers, withholding freedom when requested. This
also Includes ridicule, coercion, threats, verbal insults, rude and offensive language, veiled threats, or any other
type of mental stress or anguish.

Conspiracy: Means the cooperation of two or more persons working together to, restrict, suppress, inhibit, or in any
way deprive a Natural Man or Woman Secured Party of any right, benefit, or privilege that would ordinarily be
offered by the Constitution for the United States of America, and/or the Bill of Rights, and/or to any member of the
general American public, or to a Sovereign. This also includes the provisions in item # 18, “Racketeering”.

Victim: Means any Natural Man or Woman Secured Party who has received direct damages to themselves or their
property as the result of an unlawful or illegal act by another.

 

Victimless Laws: Means any law that is passed or presumed to be passed that creates a violation of law where no
Natural Man or Woman Secured Party has been damaged. This includes any statute, ordinance, regulation, policy,
or color of law provision. These types of laws will not be used in any action, of any kind, against any Natural Man
or Woman Secured Party.

Aiding and Abetting: Means the efforts of any officer, agent, or representative of the UNITED STATES or officer of the
court to assist another of the same to hinder, coerce, restrict, resist, suppress, or deprive in any way, a Natural Man
or Woman Secured Party from receiving any and all rights, benefits, privileges, as provided by the Constitution for
the United States of America, and/or the Bill of Rights, or that would normally be offered to the general American
public, or a Sovereign. This also includes the provisions as provided in item # 18 “Racketeering” and suppression of

evidence.

Racketeering: Means any attempt by any two or more officers of the corporation to restrict, suppress, coerce,

   
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LEGAL NOTICE AND DEMAND — ATTACHMENT “B”. DEFINITIONS | :

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manipulate, inhibit, or in any way deprive a Natural Man or Woman Secured Party from receiving every right,
benefit, or privilege that is outlined by the Constitution for the United States of America, and/or the Bill of Rights.
This also includes any effort by the officers of the court to hinder in any way the introduction of evidence, law,
facts, affidavits, statements, witness testimony, or any information that is considered relevant by the Natural Man
or Woman Secured Party, or any attempt to prevent a jury from hearing this evidence. This also includes any
attempt to prevent this evidence from being heard in a public forum and before any and all members of the
general public, as many as can be accommodated by the main courtroom. All hearings, tribunals, or trials will be
held in a public place; and any and all members of the genera! public will be allowed to attend, without restriction.
This also includes questioning and/or interrogation by police officers before, during, and after an arrest.

 

Federal Zone: Means any land, property, building, area, zone, 911 zone, or postal zone that is presumed to be within
the territorial jurisdiction of the “UNITED STATES,” or any of its representatives as defined herein. This does not
include any land, property, building, structure, dwelling, area, zone that is held by deed, title, warranty deed, |
contract, or any written or verbal agreement, or any such thing, by a Natural Man or Woman Secured Party who is i

 

located outside of “WASHINGTON, 0.C.” proper. All privately held properties, of any type that are being held by

any Natural Man or Woman Secured Party are excluded from any federal zane or any jurisdiction of any P|
representatives of the “UNITED STATES” or any of it’s territories. This is fact and may be presented in any court by |
affidavit of any Natural Man or Woman Secured Party of interest involved in any interaction of the “UNITED

STATES” or any of its representatives, as outlined in this contract.

State: Means any of the fifty areas known as states of the “United States of America” which is not the same as the ;
“UNITED STATES” corporation. These are designated by UPPER CASE spelling vs. Upper and Lower Case spelling of
the name of each State. The all UPPER CASE NAME denotes that this STATE is a part of the “UNITED STATES”
corporation, whereas the spelling of the Upper and Lower Case Name denotes that it is not a part of the “UNITED
STATES.” This will be determined by the Natural Man or Woman Secured Party as a condition of this contract. The
Natural Man or Woman Secured Party will also determine whether his State is a part of the jurisdiction of the
“UNITED STATES,” or not, and will never be challenged by any representative of the “UNITED STATES.” The Natural

Man or Woman Secured Party will determine if the alleged offense occurred within the limits of the “UNITED
STATES.” A violation of this provision will be Unlawful Determination and punishable as indicated by this contract

agreement.

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Trespassing/Trespass: Means the entry into, or onto the domain, property, residence, area, location, grounds, |
dwellings, buildings, barns, sheds, caves, structures, lands, storage areas, tunnels, automobiles, trucks, safe houses,
underground shelters, automobiles, motor vehicles, recreational vehicles, boats, planes, trains, ships, containers, i
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vans, heavy equipment, farm implements, culverts, driveways, trees, yards, real property, real estate, land, etc., of
| the Natural Man or Woman Secured Party without his express written permission, or without a lawfully executed
fourth (4°) amendment warrant, and any and all agents, or representatives of the corporation will fully and
completely observe any and all protections as outlined in the Constitution for the United States of America and/or
the Bill of Rights. Any personal property that is damaged, lost, stolen, or misplaced, etc., will be recoverable as
' indicated in this Notice and Demand document. | solemnly swear and affirm that | do not have any illegal

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LEGAL NOTICE AND DEMAND —- ATTACHMENT “B”, DEFINITIONS

 

contraband on my property; | have never had any illegal contraband on or around my property and never will. Any
contraband if it is found on my property will be introduced by the officers or agents during time of trespass. |
simply do not allow it on my property. Contraband or illegal items if they are found in a search do not belong to
me and may not be used in any attempt in any claim against me. Any and all officers, agents, and representatives
of the corporation will be held individually liable for the full amount of damages as outlined in this Notice and
Demand document for trespassing.

 

Natural Man or Woman Secured Party: Means any flesh and blood, living, breathing Man or Woman, created by God,
who notifies any representative of the corporation, verbally or in writing, that he is a Sovereign, Non “UNITED
STATES” corporate citizen, Freeman or Freewoman, and not subject to the jurisdiction of the corporation or any of
its representatives. This is not to be confused with the Fictitious Legal Entity that was created by the state and is
represented by an ALL CAPITAL LETTER NAME. Any attempt to notify any officer, agent, and representative, of the
status of the Natural Man or Woman Secured Party will be sufficient notice. Sufficient notice will be determined
by oath, statement, or affidavit by the Natural Man or Woman Secured Party; and the validity of such will not be
challenged by any officer of the court.

 

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County or City: Means any subdivision of any State of the “United States of America.” This term excludes any
jurisdiction, zone, or territory of the “UNITED STATES” corporation unless described by the Natural Man or Woman
Secured Party in all CAPITAL letters. Any dispute over any errors contained in spelling or grammar will be resolved
at the discretion of the Natural Man or Woman Secured Party and will not be challenged by any representative of
the corporation.

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Agency, Entity, Department, Sub Division, Subsidiary, Contractor, Employee, Inspector, Investigator, Organization,
Officer, Agent, Authorized Representative, Policeman, Participant: Means any person, corporation, or entity of
any kind, which works for, is compensated ail or in part by, receives funds, or collects funds for, contracts with,
receives any benefit fram, receives any privilege from, participates with, has allegiance to, or in any way has a
relationship with, the “UNITED STATES” or any of its subsidiaries, sub- corporations, departments, or agencies, etc.

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Contract: Means any agreement in writing that has been offered for review and acceptance by another party wherein
the offering party has ten (10) days or more, or as stipulated in the contract, to review and respond, accept or
rebut, any provisions of the contract, as indicated in the contract. Non Response on the part of the receiving party
or agent of the receiving party will be a lawful offer and acceptance of all the terms and conditions contained in
said contract. Rebuttal by the receiving party of any provision of the contract by any other means as is indicated in
the contract will be non response. Return of the contract unopened and/or without review will be acceptance of
all conditions of said contract. Recording the contract with the clerk of court or any public records officer will be a
lawful offer and notification and will be presentment to all officers of the court in that state or county. Notice to
Agent is Notice to the Principal and Notice to the Principal is notice to the Agent.

False Imprisonment: Means any attempt by any officer of the court or corporation to incarcerate any Natural Man or
Woman Secured Party against his will and/or against any and all protections of the laws and provisions of the

 
    

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LEGAL NOTICE AND DEMAND - ATTACHMENT “B", DEFINITIONS

  
 

“Constitution for the United States of America” and/or the Honorable “Bill of Rights.”

Representative: Means any agent, agency, department, officer, investigator, entity, subsidiary, subcorporation,
contractor, employee, inspector, individual or corporation that has any affiliation, association, collects or
distributes funds for, does any task for, receives any benefit or privilege from, etc., of or for the “UNITED STATES”
or anyone, or anything that represents the interests of, or is being funded by, or receives funds from, or has any
attachment to the “UNITED STATES” or any of its sub divisions or sub-corporations. .

Corporation: Means any representative, agency, sub-corporation, contractor, or any person or entity that is employed
by, receives or distributes funds for, receives any benefit or privilege from, or has any relationship of any kind with
the “UNITED STATES” corporation.

| Interpretation: Means if any conflict arises concerning the definition of any of the terms and or conditions of this
contract, the conflict concerning the meaning of the term or condition will be decided by the Natural Man or
Woman Secured Party. His decision will be final and not subject to review or argument. No liability or penalty will
r | be incurred by the Natural Man or Woman Secured Party due to his interpretation of such terms and or conditions.
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Corporate Capacity: Means acting for, or on behalf of, a corporation, or government entity, while under flaw or color of
law.

Legal Counsel: Means anyone that a Natural Man or Woman Secured Party chooses to have as legal assistance of
counsel, whether counsel is licensed or not, or members of the Bar Association. Counsel may assist, represent,
speak on behalf of, write cases for, or perform any act in or out of court for the Natural Man or Woman Secured
party without any hindrance, threat, prosecution, charge, repercussion from any officer of the court, or
representative of the “UNITED ST. ATES” corporation, or any representative, officer, or agent thereof.

Abuse of Authority: Means anyone who denies, withholds, refuses, deprives, limits, inhibits, counteracts, conceals, any
right, benefit, protections, or privilege, as protected by the “Constitution for the United States of America” and/or
the Honorable “Bill of Rights.” This includes arrest or detainment without documented evidence that a lawful
crime has been committed by the Natural Man or Woman Secured Party. This includes use of restraint devices on
a Natural Man or Woman Secured Party and/or physical abuse that makes any marks, scars, cuts, abrasions, or the
like. This also includes denial of lawful Due Process, Habeas Corpus, Excessive Bail, Unlawful Arrest, Unlawful
Detention, or the like, as outlined in this contract. ,

Verbal Abuse: Means the use of offensive, and /or threatening verbal words, body language, and non verbal gestures or
actions by any representative of the corporation, as defined herein, upon a Natural Man or Woman Secured Party.
If a controversy arises about an incident, the version told by the Natural Man or Woman Secured Party will be
accepted as truth and will not be contested.

Assault and Battery with Weapon: Means any use of, threatened, or perceived use of any weapon, against me or mine,
by any representative of the “UNITED STATES” corporation that creates an atmosphere of fear for the Natural Man

    

 

 
 

 

LEGAL NOTICE AND DEMAND - ATTACHMENT “B”, DEFINITIONS

 

or Woman Secured Party. This includes non lethal weapons, such as tazers, stun guns, ‘mace, pepper spray, any
chemical used to incapacitate, rubber bullets, shock force weapons, electronic weapon or any other type of
weapon that may be used to control or to create fear. If a conflict arises about the events, the version told by the
Natural Man or Woman Secured Party will be accepted as truth and will not be contested. ,

made by any representative of the “UNITED STATES” corporation, as defined herein, that is not proven by written
documented evidence presented under oath and penalty of perjury by an authorized agent or representative of the
corporation. The accuser has eight (8) hours to provide said documents to be reviewed and in possession of the

 

 

: Unfounded Accusations: Means any accusation, charge, or claim, civil or criminal, or in admiralty Uhat is alleged or

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Natural Man or Woman Secured Party; and failure to do so will be unfounded accusations and subject to the

i penalties contained herein. :

| Encroachment: Means to invade, intrude, or in any way prevent a Natural Man or Woman Secured Party the full and

" complete use of property, including trespass, impeding ingress or egress to the property of a Natural Man or
a Woman Secured Party, to limit the ability of a Natural Man or Woman Secured Party to freely access, claim, hold,

' possess, use, convey, sell, rent, lease, barter, exchange, or in any way make full and unfettered use of his property.
This includes the application of unlawful liens and encumbrances of any and all property including wages, salaries,
stocks, bonds, bank accounts (foreign or domestic), savings accounts, contents of safety deposit boxes, gold, silver,
notes, insurance funds, annuities, retirement accounts, social security benefits, motor vehicles, automobiles,
recreational vehicles, land, real estate, homes, structures, roads, driveways, personal property of any kind that is
held by title, deed, contfact, agreement (written or verbal), or is in possession of a Natural Man or Woman Secured
Party. This includes, but is not limited to, traffic stops, searches of vehicles, home invasion, confiscation of any
lawful property owned by, in possession of, or under the control of the Natural Man or Woman Secured Party.

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Assault and Battery without a Weapon: Means the verbal abuse or physical contact, of any kind, upon a Natural Man
or Woman Secured Party without their express voluntary written consent. If a conflict arises about the facts
involving the incident, the version as told by the Natural Man or Woman Secured Party will be accepted as truth,
without question, and will not be contested.

 

Abuse of Due Process: Means any action against a Natural Man or Woman Secured Party, when said action does not
abide by all the rights and defenses contained in or represented by the “Constitution for the United States of
America” and/or the Honorable “Bill of Rights.” This includes any charge, or claim, civil or criminal, or in admiralty,
that is alleged or made by any representative of the “UNITED STATES” corporation. .

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Denial of Due Process: Means any attempt by any officer of the court and or corporation to deny, deprive, restrict, |
prevent, or in any way inhibit the proper Oue Process to any Natural Man or Woman Secured Party as outlined in
the “Constitution for the United States of America” and/or the Honorable “Bill of Rights.” Any public law, statute, |
regulation, ordinance, home rule, etc., that is incompatible with the aforementioned Constitution and/or j

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Honorable “Bill of Rights” is null and void and will not be used in any action against any Natural Man or Woman
Secured Party.

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LEGAL NOTICE AND DEMAND - ATTACHMENT “B”, DEFINITIONS

Unlawtul Detainer: Means any attempt by any officer of the court or representative of the corporation to arrest,
check, hinder, delay, possess, hold, keep in custady, restrain, retard, stop, withhold a Natural Man or Woman
Secured Party without affording him every protection as outlined by the “Constitution for the United States of
America” and/or the Honorable “Bill of Rights.” Any public law, statute, regulation, ordinance or the like will be
null and void and will not be used in any action in which a Natural Man or Woman Secured Party is involved.

Reckless Endangerment: Means any attempt by any officer of the court or corporation, as defined herein, to endanger,
attempt, or threaten to attempt to endanger the life or property of any Natural Man or Woman Secured Party. This
includes dangerous driving in a car, use or threatened use of lethal or non lethal weapons or chemicals, improper
use of restraint devices, use of restraint devices on a non-combative Natural Man or Woman Secured Party. Ifa
conflict arises as to whether or not reckiess endangerment has occurred, the version of the Natural Man or Woman
Secured Party will be considered as truth.

Failure to Respond: Means any attempt by any officer or representative of the corporation to ignore, inhibit, withhold,
delay, or deny a request for informatior from a Natural Man or Woman Secured Party.

Failure to Charge within Forty Eight (48) Hours: Means any attempt by any officer or representative of a corporation
to delay, inhibit, prevent, or in any way stop a Natural Man or Woman Secured Party from being lawfully charged
by the court within forty eight (48) hours of arrest.

Failure to identify: Means any time a Natural Man or Woman Secured Party has interaction with any officer or
representative of the court or corporation, the officer or representative must, upon request of the Natural Man or
Woman Secured Party, provide proper identification, written proof of authority, state what his business is with the
Natural Man or Woman Secured Party, complete a public servants questionnaire in advance of arrest or detention,
provide documentation properly identifying the officer or respondeat superior’s name and contact information,
and any other relevant information as requested by the Natural Man or Woman Secured Party. The officer may
not detain the Natural Man or Woman Secured Party for more than ten (10) minutes while he obtains this
information.

Counterfeiting Statute Staple Securities Instruments: Means any attempt by any officer or representative of a
corporation to copy, duplicate, replicate any document that has “Statute Staple Securities Agreement” typed,
printed, or hand written anywhere on the document, without the express written voluntary permission of the
document’s owner who is the Natural Man or Woman Secured Party who filed said document in the public record,
or is in possession of said document, or who is the maker of said document. if a dispute about permission to
duplicate arises, the statements of the Natural Man or Woman Secured Party will be accepted as fact without
question and will not be contested.

Coercion or Attempt to Coerce: Means any attempt by any officer or representative of a corporation to threaten,
intimidate, deprive, conceal, or in any way prevent a Natural Man or Woman Secured Party from receiving and/or
enjoying any right, or privilege that is granted, outlined, or secured by the “Constitution for the United States of
America” and/or the Honorable “Bill of Rights”, or allow another to do so.

   

 

 

    
   
 

 

 

 

LEGAL NOTICE AND DEMAND — ATTACHMENT “B”, DEFINITIONS

Purchase Price: Means the new replacement costs of items of property at the time of replacement. This includes
locating, packing, shipping, handling, delivery, set up, installation, and any ather fee associated with total
replacement of property.

Destruction of Property: Means any alteration, damage, deprivation, defacing, removing, changing, breaking,
separating, removing parts from, erasing of files from, throwing, shooting, kicking, stomping, smashing, crushing, or
the like of any property belonging to or in possession of the Natural Man or Woman Secured Party.

Deprivation of Rights or Property: Means the concealment, keeping from, hiding, obstructing of any rights, property, or
privileges that are outlined or protected by the “Constitution for the United States of America” and/or the
Honorable “Bill of Rights.” :

Concealment: Means withholding or keeping information, that should normally be revealed, about property and/or
rights from a Natural Man or Woman Secured Party. This includes keeping evidence or law from a jury that could
favorably alter the outcome of a case ta the benefit of the Natural Man or Woman Secured Party. No officer of any
court or representative of any corporation may conceal any law and/or any evidence of any kind that is considered
relevant by the Natural Man or Woman Secured Party, and/or fail to disclose any law that benefits the Natural Man
or Woman Secured Party.

Defacing: Means the changing or altering the appearance of an item. This also includes changing or altering the
meaning of laws, rights_ property, documents, or any other thing that has value as determined by the Natural Man
or Woman Secured Party.

Constitution: Means, for the purpose of this contract, “The Constitution for the United States of America” circa 1791, as
opposed to the “Constitution of the UNITED STATES” corporation circa 1868.

Bill of Rights: Means, for the purposes of this contract, the original “Bill of Rights” circa 1791.

Rights and Defenses: Means one’s legal and/or lawful right and/or ability to defend himself/herself in any action. Upon
agreement, the defendant in an action may give up his right to defend himself/herself in a given action. This
includes tacit agreement or agreement by default; and the Natural Man or Woman Secured Party is never the
defendant.

Willingly: Means that a Natural Man or Woman Secured Party is in full knowledge, understanding, agreement, and full
consent, at all times, without fear of reprisal, threat, or coercion, during any interaction in which he is involved
with any agent, officer, or representative of any court or corporation, including incorporated governments.

Individual Capacity: Means acting on one's behalf to do a thing. The officer, representative, agent, or the like may be
acting under law or color of law and go outside of the capacity of the law and take on a personal liability.

Artificial Person: Means a fictitious entity that was created by the state for transacting commerce. This artificial Man

     

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LEGAL NOTICE AND DEMAND -— ATTACHMENT “B”, DEFINITIONS

Disrespect: Means anything said or written to me, about me or mine that | do not like, including body language, or

anything that makes me or any reasonable man uncomfortable, or have fear,

The Placing or Filing of an Unlawful Lien, Levy, Garnishment, or Attachment: Means any attempt by any officer, agent,

or representative of a corporation to place a lien, levy, garnishment, or attachment on the property or collateral of
a Natural Man or Woman Secured Party, hereinafter referred to as Secured Party. Any said officer, agent , or
representative, must first prove his authority to do so by lawfully documented evidence, furnishing all documents,
forms, and papers as necessary to prove his authority to do so to a neutral Three (3) Notary Panel, hereinafter
referred to as The Panel, selected by the Secured Party. Said officer, agent, or representative must guarantee in
writing that the officer, agent, or representative signing said documents will be personally liable for any damage(s)
due to his unlawful and/or illegal actions. He must supply bonds or other lawful funds to be held in trust by The
Panel until The Panel determines if any actions of the officer, agent, or representative have violated any laws or
caused damage to the Secured Party. The Panel will have the sole power to determine if any damage(s) has
occurred and will release the funds according to The Panel’s adjudication. The decision of The Panel will be final
with no recourse. The surety bonds and/or funds held in escrow by The Panel must be at least four (4) times the
estimated value of the property that is liened, levied, garnished, or attached. The assessment of value will be
recorded via affidavit by the Secured Party and delivered to The Panel. The Panel’s determination and the
assessment thereof will be accepted as truth without question or recourse. Said officer, agent, or representative
agrees to surrender, including, but not limited to, any and all surety bonds, public and/or corporate insurance
policies, CAFRA funds, er corporate property as needed to satisfy any and all claims and/or assessments as filed
against said officer, agent, or representative by the Secured Party. Said officer, agent, or representative agrees
that any and all property or collateral with a current or existing lien will remain in the custody and control of the
Secured Party until such time as a determination has been made by a jury of twelve of the Peers as defined herein.
In the event that a jury of twelve of the Peers cannot be convened or has not been convened within sixty (60) days
from the date of the order of the lien, levy, attachment, or garnishment, any action against the Secured Party shall
be dismissed with prejudice; and every lien, levy, attachment, or garnishment shall be released within ten (10) days
and all property rights restored, unencumbered. The officer, agent, or representative who has authorized said lien,
levy, attachment, or garnishment agrees to surrender any and all surety bonds, public and/or corporate insurance
policies, CAFRA funds, or corporate property as needed to satisfy any and all claims and/or assessments as filed
against said officer, agent, or representative , the Secured Party (915) .

Peers: Means the same as the definition of a Natural Man or Woman Secured Party.

ignore: Means to refuse or in any way to deny a lawful request for an officer to complete legal documents that will

provide information when requested by the Natural Man or Woman Secured Party.

Natural Man or Woman: Means a flesh and blood, living, breathing, biological man or woman, created by God, as

represented by the Upper and Lower Case Name, including “Natural Man or Woman," or “Real Man," or “Real
Woman," or "Real Man/Woman." This is not to be confused with the Fictitious Legal Entity that was created by the
STATE that is represented by the All Capital Letter Name.

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Page 1 of 1

 

CERTIFICATE OF SERVICE
NOTARY PRESENTMENT

I, Alvida Gonzales, a Notary Republic for Pennsylvania state, I am over the age of twenty-one, and
not a party to the within action. I hereby certify, declare, or otherwise affirm that, on behalf of
Albert Upshur, Beneficiary & Director, I have caused to be served on the following party:

Micheal E. Kunz, Clerk of Court

UNITED STATE DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA
U.S. COURTHOUSE, Room 2609

PHILADELPHIA, PENNSYLVANIA 19106-1797

The following document(s), comprising a total of [36 pages]:[1DVD]

(1) Original Letter to U.S, Clerk of Court dated June 1, 2012 [1 page]

(2) Initial Court filing U.S. District Court for the Eastern District of Pennsylvania, [2 pages].

(3) Copy of DVD evidencing identifiable events, dated May 29, 2008

(4) Copy Form 1099-A, 2011 Acquisition or Abandonment of Secured Property, ALBERT

UPSHUR, dated March 27, 2012 [1 Page].

(5) Copy Form, 1099-C, Cancellation of Debt 2011 , dated May 29, 2012 [attached 1099A]

(6) Copy Form 56, Notice Concerning Fiduciary Relationship, dated May 15, 2012 [1 page].

(7) Copy of LEGAL NOTICE AND DEMAND [30pages]

(8) Unsigned reference copy of this Certificate of Service (signed original on file)[1 page]
from a United States Post Office, via Registered Mail # RB002736963US, with postage fully
prepaid, on this day of 2012

Pennsylvania state ) WITNESS my hand and official seal:

Philadelphia county )

 

Signature of Notary Public

My Commission Expires / /
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June 1, 2012

From: Albert-William: Upshur
(Indigenous name): (Surname)
Submittal Party for the Plaintiff
Phone: (267)-601-5852

To: Clerk of Court
of the Eastern District of Pennsylvania District Court

For the Circuit Court of the United States.

Subject: Filing for the CIRCUIT COURT OF THE UNITED STATES.
Clerk of Court,

I am one of the "People of the United States", I am acting in peace and I am presenting a
package to be processed and filed in the Correct Venue and J urisdiction; under the Venue of "We the
People of the United States" per the Constitution for the United States and under the Jurisdiction of the
Circuit Court of the United States, as a protected Right of a Citizen of the United States of America.

Under this venue and jurisdiction there are no forms required per the Constitution and no fees are
required because presently the living citizen of the United States is ina state of being insolvent.

Supreme Court Justice J. Curtis Joyner, has also been faxed a copy to insure that this is properly
filed, as it is under my secured or protected Rights per the Constitution and laws of the United States.

Thank you for your time and service.

Submitted and signed by the Plaintiff:
Signed the 1* day of June, 2012

By: Albact- Wil an Vos
Albert-William: Upshur, sui juris
(Indigenous name): (Surname)

(Signed and sealed by Plaintiff)

 
